Case 2:20-bk-21020-BR   Doc 1 Filed 12/18/20 Entered 12/18/20 13:04:34   Desc
                        Main Document     Page 1 of 6
Case 2:20-bk-21020-BR   Doc 1 Filed 12/18/20 Entered 12/18/20 13:04:34   Desc
                        Main Document     Page 2 of 6
Case 2:20-bk-21020-BR   Doc 1 Filed 12/18/20 Entered 12/18/20 13:04:34   Desc
                        Main Document     Page 3 of 6
Case 2:20-bk-21020-BR   Doc 1 Filed 12/18/20 Entered 12/18/20 13:04:34   Desc
                        Main Document     Page 4 of 6
Case 2:20-bk-21020-BR   Doc 1 Filed 12/18/20 Entered 12/18/20 13:04:34   Desc
                        Main Document     Page 5 of 6
Case 2:20-bk-21020-BR   Doc 1 Filed 12/18/20 Entered 12/18/20 13:04:34   Desc
                        Main Document     Page 6 of 6
